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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 08-20071-CR-JORDAN

  UNITED STATES OF AMERICA,           )
                                      )
  v.                                  )
                                      )
  MICHAEL LAUER, et al.,              )
  ____________________________________)

                             ORDER ON MR. LAUER’S MOTIONS

         Upon a de novo review of the record, including Mr. Lauer’s objections [D.E. 511], and with
  the benefit of oral argument, I adopt Magistrate Judge McAliley’s report and recommendation [D.E.
  497], incorporating my comments at the hearing held on March 23, 2010. Accordingly, Mr. Lauer’s
  motion for return of property [D.E. 392] is DENIED , and Mr. Lauer’s motion to suppress and for
  additional remedies [D.E. 422] is GRANTED as to suppression and DENIED as to other
  sanctions/remedies.
         DONE and ORDERED in chambers in Miami. Florida, this 24th day of March, 2010.




                                              ________________________________
                                              Adalberto Jordan
                                              United States District Judge

  cc:    Magistrate Judge McAliley
         All counsel of record
